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  2                                                           November 10, 2021

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 10                              UNITED STATES DISTRICT COURT
 11               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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 13   NATHAN D. FORD, M.D., an individual, Case No.: 2:21-cv-07486-SB-AGR
 14                            Plaintiff,                ORDER DISMISSING CENTURION
                                                         MEDICAL LIABILITY
 15               vs.                                    PROTECTIVE RISK RETENTION
                                                         GROUP, INC. WITH PREJUDICE
 16   CHRIS BAXTER, an individual; JACKIE
      DUBUISSON, an individual;
 17   GABRIELLE WALKER, an individual;
      BAXTER & ASSOCIATES, a Florida
 18   limited liability company; CENTURION
      MEDICAL LIABILITY PROTECTIVE
 19   RISK RETENTION GROUP, INC, a
      corporation of unknown origin; and
 20   DOES 1-20, inclusive,
 21                            Defendants.
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 23
 24               Having considered the stipulation of Plaintiff Nathan D. Ford, M.D.
 25   (“FORD”) and Defendant CENTURION MEDICAL LIABILITY PROTECTIVE
 26   RISK RETENTION GROUP, INC. (“CENTURION”) and GOOD CAUSE
 27   APPEARING THEREFOR, it is hereby ordered that that this action be dismissed in
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                                                     1
                        ORDER TO DISMISS WITH PREJUDICE AS TO CENTURION ONLY
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  1   its entirety, with prejudice, as to CENTURION only. FORD and CENTURION are
  2   to bear their own attorney’s fees and costs.
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  4   Dated: November 10, 2021

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  6                                                   Stanley Blumenfeld, Jr.
                                                     United States District Judge
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                ORDER TO DISMISS WITH PREJUDICE AS TO CENTURION ONLY
